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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
          v.                                      :   Case No. 1: 21-575 (JDB)
                                                  :
DAVID JOHN LESPERANCE, CASEY                      :
CUSICK, and JAMES VARNELL                         :
CUSICK, JR.,                                      :
                                                  :
          Defendants.                             :

  GOVERNMENT’S UNOPPOSED MOTION FOR FURTHER EXTENSION OF TIME
     TO FILE ITS RESPONSE TO THE DEFENDANTS’ MOTION (ECF NO. 47)

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves for a further seven-day extension of time, until March

10, 2023, to respond to the defendants’ motion to dismiss this case for failure to state a claim (ECF

No. 47). As explained below, good cause exists for the seven-day extension requested in this

motion.

       On January 13, 2023, this Court entered an order setting the following deadlines for pretrial

dispositive motions: (i) motions due by 2/3/2023; (ii) responses due by 2/24/2023; and (iii) replies

due by 3/6/2023. The court also scheduled trial for June 12, 2023. On February 3, the defendants

filed three dispositive motions: (i) a motion to dismiss on First Amendment grounds (ECF No.

45); (ii) a motion to transfer venue (ECF No. 46); and (iii) a motion to dismiss for failure to state

a claim (ECF No. 47). The government has worked diligently to prepare responses to these

motions and filed its responses to the first two motions on February 24, 2023. This Court granted

the government’s request for a seven-day extension, until March 3, 2023, to file its response to the

third motion (ECF No. 47). Due to the press of other professional obligations, however, the

undersigned counsel will need a further 7-day extension to prepare the government’s response to


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the defendants’ remaining motion (ECF No. 47). In particular, the undersigned counsel has been

in jury selection and now trial in another criminal case, United States v. GossJankowski, No. 1:21-

cr-123 (PLF), since February 28, 2023.

       I have conferred with John Pierce, counsel for the defendants, regarding this motion. Mr.

Pierce has indicated that the defendants do not oppose the seven-day extension sought in this

motion.

                                         CONCLUSION

       The government respectfully requests that the Court grant this motion to extend the time

to respond to the defendants’ motion to dismiss the case for failure to state a claim (ECF No. 47)

until Friday, March 10, 2023.

       March 2, 2023                  Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052

                                By:   /s/ Francesco Valentini
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